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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
CASE NO. 17-20487-CR-COOKE
UNITED STATES OF AMERICA

-VS-

JORGE APONTE FIGUEROA,

VERDICT

We, the Jury, find the Defendant, Jorge Aponte Figueroa:

Count 1: Carjacking

As charged in Count One of the Indictment.

W Guilty
Oh Not Guilty

If you find the Defendant guilty of Count 1, you must make further findings
as follows:

(Indicate “yes” or “no” to the following questions):
Yes Did death result?

Count 2: Discharging a Firearm in Furtherance of a Crime of Violence

As charged in Count Two of the Indictment.

W Guilty
O

Not Guilty
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If you find the Defendant guilty of Count 2, you must make further findings
as follows:

(Indicate “yes” or “no” to the following questions):

Y ZS Was a firearm used or carried or possessed in relation to a crime of
violence?

yl 2S: Wasa firearm discharged in furtherance of a crime of violence?

SO SAY WE ALL.

 

Date: 03 le2 [2020
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